Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 1 of 15




                       EXHIBIT F
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 2 of 15


     From:             Kristopher Pearson
     To:               Richman, Stephen; Raskas, Aron; Tom Culmo
     Cc:               Cruz, Alejandro (x7613); Ana Friedman; Melanie Damian; Gabriela Jimenez; Lisa Fazzah-Diaz; Atkinson, David;
                       Pala, Shelly; Margolese, Maddie; Minelli, Madison; Anderson Davis, Joan; Warder III, Frederick (x2121); Isaac
                       Mitrani; Burns, Dakotah (x2532); Allyn, Charlotte (x2082); Daniel Bitran; cayala@mitrani.com; Purdy, Lauren
     Subject:          RE: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK
     Date:             Monday, May 6, 2024 7:07:28 PM
     Attachments:      image002.png
                       image004.png
                       image005.png



       This email originated from outside of the organization. Do not click links or open attachments unless you
       recognize the sender and know the content is safe.



    Stephen—As we previously mentioned, we do not represent Adam Rioux. As it relates to
    agreeing to Mr. Rioux’s deposition beyond the 10 allowed by the Rules, we do not agree.
    As you know, Mr. Rioux was engaged in a business that was not the subject of the FTC
    allegations and he had absolutely no contact with the Defendants or the advice they
    provided. As it relates to Avenue I’s financial results as part of the consolidated OPG
    enterprise from July 2019 through November 2023, Ms. Nuche who is already set will be
    prepared to answer those questions. Thank you.


    Kristopher E. Pearson
    Of Counsel




    Email: kpearson@dvcattorneys.com
    Office: (305) 371-3960

    From: Richman, Stephen <SRichman@gunster.com>
    Sent: Monday, May 6, 2024 12:12 PM
    To: Kristopher Pearson <kpearson@dvcattorneys.com>; Raskas, Aron <ARaskas@gunster.com>; Tom
    Culmo <tom@culmolaw.com>
    Cc: Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana Friedman <ana@culmolaw.com>; Melanie
    Damian <mdamian@dvllp.com>; Gabriela Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-Diaz
    <lfd@dvllp.com>; Atkinson, David <DAtkinson@gunster.com>; Pala, Shelly <SPala@gunster.com>;
    Margolese, Maddie <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>;
    Anderson Davis, Joan <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
    <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns, Dakotah (x2532)
    <dburns@pbwt.com>; Allyn, Charlotte (x2082) <callyn@pbwt.com>; Daniel Bitran
    <dbitran@mitrani.com>; cayala@mitrani.com; Purdy, Lauren <LPurdy@gunster.com>
    Subject: RE: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK

    Hi Kris,
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    I just tried calling you and Tom on the below issue and left a message with the receptionist. We
    request your answer on the Adam Rioux deposition issue by end of day today. You can reach me at
    561-804-4362.

    Thanks,




    Stephen C. Richman | Shareholder
    777 South Flagler Drive, Suite 500 East
    West Palm Beach, FL 33401
    P 561-804-4362 F 561-671-2450
    gunster.com | srichman@gunster.com
    Admitted to Practice Law in Florida and Texas


    From: Richman, Stephen
    Sent: Friday, May 3, 2024 11:41 AM
    To: Kristopher Pearson <kpearson@dvcattorneys.com>; Raskas, Aron <ARaskas@gunster.com>; Tom
    Culmo <tom@culmolaw.com>
    Cc: Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana Friedman <ana@culmolaw.com>; Melanie
    Damian <mdamian@dvllp.com>; Gabriela Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-Diaz
    <lfd@dvllp.com>; Atkinson, David <DAtkinson@gunster.com>; Pala, Shelly <SPala@gunster.com>;
    Margolese, Maddie <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>;
    Anderson Davis, Joan <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
    <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns, Dakotah (x2532)
    <dburns@pbwt.com>; Allyn, Charlotte (x2082) <callyn@pbwt.com>; Daniel Bitran
    <dbitran@mitrani.com>; cayala@mitrani.com; Purdy, Lauren <LPurdy@gunster.com>
    Subject: RE: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK

    Kris,

    Adam Rioux is the President of Avenue I Media. By On Point’s own admission, Avenue I was the
    biggest source of its revenues by 2023. We are entitled to depose Mr. Rioux regarding Avenue I’s
    business, its revenues, and its impact on the bottom line at On Point.

    If the Receiver is unwilling to agree to the deposition of Mr. Rioux, then we will declare an impasse
    and bring the issue to the Magistrate Judge so that it can be timely resolved.

    We will let you know if the date proposed for Alicia Nuche works.

    Thanks,




    Stephen C. Richman | Shareholder
    777 South Flagler Drive, Suite 500 East
    West Palm Beach, FL 33401
    P 561-804-4362 F 561-671-2450
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 4 of 15


    gunster.com | srichman@gunster.com
    Admitted to Practice Law in Florida and Texas


    From: Kristopher Pearson <kpearson@dvcattorneys.com>
    Sent: Thursday, April 25, 2024 4:17 PM
    To: Richman, Stephen <SRichman@gunster.com>; Raskas, Aron <ARaskas@gunster.com>; Tom
    Culmo <tom@culmolaw.com>
    Cc: Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana Friedman <ana@culmolaw.com>; Melanie
    Damian <mdamian@dvllp.com>; Gabriela Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-Diaz
    <lfd@dvllp.com>; Atkinson, David <DAtkinson@gunster.com>; Pala, Shelly <SPala@gunster.com>;
    Margolese, Maddie <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>;
    Anderson Davis, Joan <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
    <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns, Dakotah (x2532)
    <dburns@pbwt.com>; Allyn, Charlotte (x2082) <callyn@pbwt.com>; Daniel Bitran
    <dbitran@mitrani.com>; cayala@mitrani.com; Purdy, Lauren <LPurdy@gunster.com>
    Subject: Re: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK

    Hi Stephen,

    We have no objection to Eli Rothman and Alicia Nuche being deposed. Mr. Rothman is
    represented by Marlon Weiss so you should reach out to him to coordinate. We have not
    had an opportunity to speak to Alicia Nuche yet but will work to coordinate. As to Mr. Rioux
    and Mr. Zangrillo, we do not represent them. Mr. Zangrillo is represented by Boies Schiller.
     As to whether we will consent to allowing these 2 additional depositions over the
    presumptive 10 deposition limit (not including experts) please provide additional information
    concerning what you seek from these witnesses and how you have not already obtained
    such information or are not able to obtain the information in less obtrusive manner. As you
    already know, neither of these witnesses had any interaction with your clients nor any direct
    involvement in the websites at issue in this case.

    Thank you.

    Kristopher E. Pearson
    Of Counsel


    Damian | Valori | Culmo
    Email: kpearson@dvcattorneys.com
    Office: (305) 371-3960


    From: Richman, Stephen <SRichman@gunster.com>
    Sent: Wednesday, April 24, 2024 12:04:09 PM
    To: Kristopher Pearson <kpearson@dvcattorneys.com>; Raskas, Aron <ARaskas@gunster.com>; Tom
    Culmo <tom@culmolaw.com>
    Cc: Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana Friedman <ana@culmolaw.com>; Melanie
    Damian <mdamian@dvllp.com>; Gabriela Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-Diaz
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 5 of 15


    <lfd@dvllp.com>; Atkinson, David <DAtkinson@gunster.com>; Pala, Shelly <SPala@gunster.com>;
    Margolese, Maddie <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>;
    Anderson Davis, Joan <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
    <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns, Dakotah (x2532)
    <dburns@pbwt.com>; Allyn, Charlotte (x2082) <callyn@pbwt.com>; Daniel Bitran
    <dbitran@mitrani.com>; cayala@mitrani.com <cayala@mitrani.com>; Purdy, Lauren
    <LPurdy@gunster.com>
    Subject: RE: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK

    Hi Kris,

    Can you let us know about the depositions?

    Stephen




    Stephen C. Richman | Shareholder
    777 South Flagler Drive, Suite 500 East
    West Palm Beach, FL 33401
    P 561-804-4362 F 561-671-2450
    gunster.com | srichman@gunster.com
    Admitted to Practice Law in Florida and Texas


    From: Kristopher Pearson <kpearson@dvcattorneys.com>
    Sent: Monday, April 22, 2024 4:44 PM
    To: Raskas, Aron <ARaskas@gunster.com>; Tom Culmo <tom@culmolaw.com>
    Cc: Richman, Stephen <SRichman@gunster.com>; Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana
    Friedman <ana@culmolaw.com>; Melanie Damian <mdamian@dvllp.com>; Gabriela Jimenez
    <gjimenez@dvllp.com>; Lisa Fazzah-Diaz <lfd@dvllp.com>; Atkinson, David
    <DAtkinson@gunster.com>; Pala, Shelly <SPala@gunster.com>; Margolese, Maddie
    <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>; Anderson Davis, Joan
    <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121) <fbwarder@pbwt.com>; Isaac
    Mitrani <imitrani@mitrani.com>; Burns, Dakotah (x2532) <dburns@pbwt.com>; Allyn, Charlotte
    (x2082) <callyn@pbwt.com>; Daniel Bitran <dbitran@mitrani.com>; cayala@mitrani.com; Purdy,
    Lauren <LPurdy@gunster.com>
    Subject: RE: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK

    Aron—Tom is out, and we will respond when we have had a chance to discuss with him.
    Thank you.

    Kristopher E. Pearson
    Of Counsel
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 6 of 15


    Email: kpearson@dvcattorneys.com
    Office: (305) 371-3960

    From: Raskas, Aron <ARaskas@gunster.com>
    Sent: Monday, April 22, 2024 8:56 AM
    To: Tom Culmo <tom@culmolaw.com>
    Cc: Richman, Stephen <SRichman@gunster.com>; Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana
    Friedman <ana@culmolaw.com>; Melanie Damian <mdamian@dvllp.com>; Kristopher Pearson
    <kpearson@dvcattorneys.com>; Gabriela Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-Diaz
    <lfd@dvllp.com>; Atkinson, David <DAtkinson@gunster.com>; Pala, Shelly <SPala@gunster.com>;
    Margolese, Maddie <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>;
    Anderson Davis, Joan <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
    <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns, Dakotah (x2532)
    <dburns@pbwt.com>; Allyn, Charlotte (x2082) <callyn@pbwt.com>; Daniel Bitran
    <dbitran@mitrani.com>; cayala@mitrani.com; Purdy, Lauren <LPurdy@gunster.com>
    Subject: RE: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK

    Tom:

    As we told you previously, we sought the depositions of the people listed in my last email below
    because Plaintiff had specifically identified them in the Amended Complaint and Initial Disclosures
    and Supplemental Initial Disclosures as having relevant knowledge. Based upon your representation
    that you do not intend to call any of the witnesses listed in that email below except for Burton Katz,
    we are willing to narrow our request that you stipulate to only the following four additional
    depositions (in addition to the Katz deposition and the completion of the deposition of OnPoint’s
    corporate designee) :

       1. Eli Rothman
       2. Alicia Nuche
       3. Adam Rioux
       4. Robert Zangrillo

    Testimony given by On Point witnesses and other evidence establishes that each of these persons
    has knowledge of facts at issue in this action and/or which relates to Defendants’ defenses.
     Rothman, Nuche and Rioux were identified as persons who have knowledge relevant to Plaintiff’s
    damages claim and Zangrillo had a central role at On Point. This requested discovery is therefore
    directly relevant to Defendants’ defenses and proportional to the needs of the case, considering the
    importance of the issues at stake in the action, the amount in controversy, the parties’ relative
    access to relevant information, the parties’ resources, the importance of the discovery in resolving
    the issues, and whether the burden or expense of the proposed discovery outweighs its likely
    benefit. See F. R. Civ. P. 26(b)(1).

    In light of the foregoing, and Defendants’ willingness to reduce the number of additional depositions
    from 31 to 4, we hope you will agree to stipulate to these four additional depositions so that it does
    not become necessary to burden the Court with such a request. Please let us know promptly if you
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 7 of 15


    are willing to do so.

    We do note, however, that Defendants do not waive the right to move to reopen any depositions
    previously taken or to note, or seek leave to note, depositions of any of the other persons listed
    below should Plaintiff designate them as witnesses for trial.

    Aron


    From: Tom Culmo <tom@culmolaw.com>
    Sent: Tuesday, April 16, 2024 2:05 PM
    To: Raskas, Aron <ARaskas@gunster.com>
    Cc: Richman, Stephen <SRichman@gunster.com>; Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana
    Friedman <ana@culmolaw.com>; Melanie Damian <mdamian@dvllp.com>; Kristopher Pearson
    <kpearson@dvcattorneys.com>; Gabriela Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-Diaz
    <lfd@dvllp.com>; Atkinson, David <DAtkinson@gunster.com>; Pala, Shelly <SPala@gunster.com>;
    Margolese, Maddie <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>;
    Anderson Davis, Joan <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
    <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns, Dakotah (x2532)
    <dburns@pbwt.com>; Allyn, Charlotte (x2082) <callyn@pbwt.com>; Daniel Bitran
    <dbitran@mitrani.com>; cayala@mitrani.com; Purdy, Lauren <LPurdy@gunster.com>
    Subject: Re: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-JLK

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       recognize the sender and know the content is safe.



    Aron,

    As you know our witness list is not yet due. However, without waiving the right to
    change our decision based on any developments that make occur before the witness
    list is due, we do not intend on calling any of the witnesses listed below except for
    Burton Katz.

    As we had previously advised we are not willing to agree to more than 10 depositions. If you
    want to consolidate your request, we will see what we can do to assist in coordinating
    depositions.

    Best

    Tom
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 8 of 15


    Medical Malpractice | Serious Injury | Business Litigation

    1000 Brickell Avenue, Miami, FL 33131 | t: 305.200.5281


           On Apr 15, 2024, at 4:21 PM, Raskas, Aron <ARaskas@gunster.com> wrote:

           Tom:

           We write in an effort to avoid, or otherwise narrow, a discovery dispute regarding
           Plaintiff’s refusal to agree to Defendants taking more than 10 depositions in this case.
            As you should recall, I sent the attached email to you on March 18, 2024, in an effort
           to identify persons whose depositions Defendants might be able to eliminate with
           cooperation from Plaintiff. As I told you then, Defendants believe it reasonable and
           necessary to take depositions of those persons whom Plaintiff has identified as having
           information relevant to this case. Yet, I advised that we may be able to eliminate some
           of those depositions if Plaintiff does not intend to rely upon testimony from them at
           trial. We received no response to that previous request. Therefore, in a continued
           good faith effort to address this issue and possibly truncate some of the remaining
           discovery that Defendants believe necessary, we once again request that you please
           advise if Plaintiff will confirm that she will not be calling, and will not attempt to
           introduce any other testimony from, any or some of the following persons:

                  Paola Gutierrez
                  John Torrents
                  Rafael Lachowski
                  Aldo Lanzas
                  Liza Vallejos
                  Eli Rothman
                  Chris Sherman
                  Juan Ignacio Lussich
                  Candice Nestle
                  Mike Spitaleri
                  Angela Grant
                  Patrick McGowan
                  Danielle Ciolfi
                  Alicia Nuche
                  Sara Dunn
                  Richard Granda
                  Roy Emmons
                  Robert Zangrillo
                  Burton Katz

           In the continued absence of such a response, we will conclude that we have no further
           alternative than to request leave of court to pursue these depositions.
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 9 of 15


         We also requested, in the email below, that you agree to the depositions of the
         persons listed below, which you refused to do. So there is no confusion surrounding
         this request, these are persons whom Plaintiff alleged in the Amended Complaint,
         including in paras. 15, 16, 20 & 56, to be “innocent investors” or “innocent
         shareholders.” We dispute those allegations and believe we are entitled to depose
         each such person to test Plaintiff’s allegations. We expect that each such deposition
         would be completed efficiently and expeditiously.

            1. On Point Capital Partners, LLC
            2. DG On Point, LLC
            3. Adam Rioux
            4. Mark Roah
            5. Jason Hiroshima
            6. RBC Universal, LLC
            7. Ventures-On Point LLC
            8. Avenue I Media, LLC
            9. Dragon Global LLC
           10. Dragon Global Management LLC
           11. Dragon Global Holdings LLC
           12. Robert Zangrillo

         Please advise if you will reconsider your position and facilitate these depositions in light
         of this information.

         We would appreciate a response to these issues by tomorrow so that we may meet
         and confer with you by phone before seeking relief from the Court. Thank you.

         Aron


         <image001.png>
         Aron U. Raskas | Shareholder
         600 Brickell Avenue, Suite 3500
         Miami, Florida 33131
         P 305-376-6009 C 443-695-1368
         araskas@gunster.com

         vCard View my bio www.gunster.com




         From: Tom Culmo <tom@culmolaw.com>
         Sent: Tuesday, April 9, 2024 1:30 PM
         To: Richman, Stephen <SRichman@gunster.com>
         Cc: Cruz, Alejandro (x7613) <acruz@pbwt.com>; Ana Friedman <ana@culmolaw.com>;
         Melanie Damian <mdamian@dvllp.com>; Kristopher Pearson
         <kpearson@dvcattorneys.com>; Gabriela Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-
         Diaz <lfd@dvllp.com>; Atkinson, David <DAtkinson@gunster.com>; Raskas, Aron
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 10 of
                                       15

        <ARaskas@gunster.com>; Pala, Shelly <SPala@gunster.com>; Margolese, Maddie
        <MMargolese@gunster.com>; Minelli, Madison <MMinelli@gunster.com>; Anderson
        Davis, Joan <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
        <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns, Dakotah
        (x2532) <dburns@pbwt.com>; Allyn, Charlotte (x2082) <callyn@pbwt.com>; Daniel
        Bitran <dbitran@mitrani.com>; cayala@mitrani.com; Purdy, Lauren
        <LPurdy@gunster.com>
        Subject: Re: Service of Court Documents - Damian v. Melton - Case No. 22-cv-22606-
        JLK

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        Stephen,

        As you know rule 30, F.R.Civ.P. requires leave for more than 10 depositions
        absent a stipulation by the Parties. Defendants have already taken 7
        depositions (excluding expert depositions). We understand that you are also
        scheduling Burt Katz’s deposition which brings you to 8 depositions. The
        Receiver will not agree to more than 10 depositions at this point. In addition,
        the below list of individuals and companies have no additional information
        regarding the merits of this case. If you wish to narrow your request to two of
        the below, we will let you know if we can assist in coordinating their
        depositions.


        Tom

        <image002.png>


        Medical Malpractice | Serious Injury | Business Litigation

        1000 Brickell Avenue, Miami, FL 33131 | t: 305.200.5281


               On Apr 8, 2024, at 11:57 AM, Richman, Stephen
               <SRichman@gunster.com> wrote:

               Tom,

               Defendants would like to depose the following persons:

                   1. On Point Capital Partners, LLC
                   2. DG On Point, LLC
                   3. Adam Rioux
                   4. Mark Roah
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 11 of
                                       15

                5. Jason Hiroshima
                6. RBC Universal, LLC
                7. Ventures-On Point LLC
                8. Avenue I Media, LLC
                9. Dragon Global LLC
               10. Dragon Global Management LLC
               11. Dragon Global Holdings LLC
               12. Robert Zangrillo

             Please let me know by Thursday if the Receiver and her counsel will be
             coordinating the scheduling of these depositions, including accepting
             subpoenas, or if Defendants will need to serve subpoenas. For the
             entities, we will provide topics.

             Thanks,

             Stephen

             <image001.png>
             Stephen C. Richman | Shareholder
             777 South Flagler Drive, Suite 500 East
             West Palm Beach, FL 33401
             P 561-804-4362 F 561-671-2450
             gunster.com | srichman@gunster.com
             Admitted to Practice Law in Florida and Texas


             From: Tom Culmo <tom@culmolaw.com>
             Sent: Friday, April 5, 2024 4:40 PM
             To: Cruz, Alejandro (x7613) <acruz@pbwt.com>
             Cc: Ana Friedman <ana@culmolaw.com>; Melanie Damian
             <mdamian@dvllp.com>; Kristopher Pearson
             <kpearson@dvcattorneys.com>; Gabriela Jimenez
             <gjimenez@dvllp.com>; Lisa Fazzah-Diaz <lfd@dvllp.com>; Richman,
             Stephen <SRichman@gunster.com>; Atkinson, David
             <DAtkinson@gunster.com>; Raskas, Aron <ARaskas@gunster.com>; Pala,
             Shelly <SPala@gunster.com>; Margolese, Maddie
             <MMargolese@gunster.com>; Minelli, Madison
             <MMinelli@gunster.com>; Anderson Davis, Joan
             <JAndersonDavis@gunster.com>; Warder III, Frederick (x2121)
             <fbwarder@pbwt.com>; Isaac Mitrani <imitrani@mitrani.com>; Burns,
             Dakotah (x2532) <dburns@pbwt.com>; Allyn, Charlotte (x2082)
             <callyn@pbwt.com>; Daniel Bitran
             <dbitran@mitrani.com>; cayala@mitrani.com; Purdy, Lauren
             <LPurdy@gunster.com>
             Subject: Re: Service of Court Documents - Damian v. Melton - Case No.
             22-cv-22606-JLK
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 12 of
                                       15

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               attachments unless you recognize the sender and know the content is safe.



             Agreed
             Best,


             Tom Culmo
             Partner

             DAMIAN VALORI CULMO
             Medical Malpractice | Personal Injury | Product Defect | Wrongful Death
             | Business Litigation | Insurance Claims
             1000 Brickell Avenue, Suite 1020
             Miami, Florida 33131
             305-371-3960 (office)
             305-371-3965 (fax)
             tom@culmolaw.com




                   On Apr 5, 2024, at 3:50 PM, Cruz, Alejandro (x7613)
                   <acruz@pbwt.com> wrote:


                   Tom:
                   Given the new discovery cutoff, and the fact that there will
                   be additional productions of documents based on Tuesday’s
                   hearings, we would propose adjourning the completion of
                   the OPG 30(b)(6) deposition to a later mutually acceptable
                   date. Will you agree to that?
                   Thank you.
                   Best,
                   Alejandro


                           On Mar 27, 2024, at 6:09 PM, Cruz, Alejandro
                           (x7613) <acruz@pbwt.com> wrote:


                           Tom:
                           Thank you. We are drafting a consent
                           motion to this effect and will send it to you
                           for review tomorrow.
                           Best,
                           Alejandro
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 13 of
                                       15


                       Alejandro H. Cruz
                       He | Him | His
                       Patterson Belknap Webb & Tyler LLP
                       1133 Avenue of the Americas | New York,
                       NY 10036
                       T: 212.336.7613
                       acruz@pbwt.com | www.pbwt.com


                       From: Tom Culmo <tom@culmolaw.com>
                       Sent: Tuesday, March 26, 2024 9:13 PM
                       To: Cruz, Alejandro (x7613)
                       <acruz@pbwt.com>
                       Cc: Ana Friedman <ana@culmolaw.com>;
                       Melanie Damian <mdamian@dvllp.com>;
                       Kristopher Pearson
                       <kpearson@dvcattorneys.com>; Gabriela
                       Jimenez <gjimenez@dvllp.com>; Lisa Fazzah-
                       Diaz <lfd@dvllp.com>; Richman, Stephen
                       <SRichman@gunster.com>; Atkinson, David
                       <DAtkinson@gunster.com>; Raskas, Aron
                       <ARaskas@gunster.com>; Pala, Shelly
                       <SPala@gunster.com>; Margolese, Maddie
                       <MMargolese@gunster.com>; Minelli,
                       Madison <MMinelli@gunster.com>; Anderson
                       Davis, Joan <JAndersonDavis@gunster.com>;
                       Warder III, Frederick (x2121)
                       <fbwarder@pbwt.com>; Isaac Mitrani
                       <imitrani@mitrani.com>; Burns, Dakotah
                       (x2532) <dburns@pbwt.com>; Allyn, Charlotte
                       (x2082) <callyn@pbwt.com>; Daniel Bitran
                       <dbitran@mitrani.com>; cayala@mitrani.com;
                       Purdy, Lauren <LPurdy@gunster.com>
                       Subject: Re: Service of Court Documents -
                       Damian v. Melton - Case No. 22-cv-22606-JLK


                        Caution: External Email!



                       Alejandro, in furtherance of our discussion
                       today about completing the remaining portion
                       of the the 30(B)(6) deposition of OPG, Melanie
                       can be available, by Zoom, on Friday April 12th
                       at 3 pm.
Case 1:22-cv-22606-JLK Document 136-6 Entered on FLSD Docket 05/14/2024 Page 14 of
                                       15

                       I am available tomorrow morning to discuss, if
                       necessary.

                       Best,

                       Tom

                       <image001.png>


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                       ess Litigation

                       1000 Brickell Avenue, Suite 1020, Miami,
                       FL 33131 | t: 305.200.5281


                               On Mar 21, 2024, at 6:22 PM,
                               Cruz, Alejandro (x7613)
                               <acruz@pbwt.com> wrote:

                               Counsel:

                               Please see the attached
                               documents. We will serve
                               Stretto directly, unless you let
                               us know to proceed otherwise.

                               Regards,

                               Alejandro

                               Alejandro H. Cruz
                               He | Him | His
                               Patterson Belknap Webb & Tyler
                               LLP
                               1133 Avenue of the Americas | New
                               York, NY 10036
                               T: 212.336.7613
                               acruz@pbwt.com | www.pbwt.com




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